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            EXHIBIT A
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CHRISTOPHER A. YEAGER
     (202) 434-5621
    cyeager@wc.com




                                                March 13, 2025

                      HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

       Via Email

      Diana A. Aguilar Aldape
      U.S. Department of Justice
      450 Fifth Street NW, Suite 7100
      Washington, DC 20530
      diana.aguilar@usdoj.gov

               Re:      United States, et al. v. Google LLC, No. 20-cv-3010-APM (D.D.C.) & State of
                        Colorado, et al. v. Google LLC, No. 20-cv-3715-APM (D.D.C.)

       Dear Diana:

              I write with respect to Document Request 8 of Plaintiffs’ Third Joint Set of Requests for
      Production, which was one of the topics discussed at the status conference on March 10, 2025. In
      response to Request No. 9 of Plaintiffs’ Second Joint Set of Requests for Production, Google
      produced the documents listed in Appendix A; that is, the model or data cards for AI Overviews,
      AI Mode, and the Gemini chatbot. The meta-data for those cards list Google as the custodian. We
      have confirmed that all of the documents set forth in Appendix A are final. The documents
      collectively contain hundreds of links, which can be collected, if at all, only through a burdensome
      process that must be performed manually. Nonetheless, as discussed at Monday’s hearing, Google
      is willing to consider reasonable requests for files linked in the documents appearing in Appendix
      A.

             I note that beyond the cards that were collected to satisfy Request No. 9 of Plaintiffs’
      Second Joint Set of Requests for Production, Plaintiffs’ search terms hit upon more than two dozen
      additional documents that take the form of model or data cards, whether in draft form or otherwise.
      The meta-data for these cards indicate the Google personnel from whom they were collected.
      Google produced those cards in accordance with its general discovery obligations and Google
      makes no representation as to whether those cards are final or not.
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                                               Sincerely,

                                               /s/ Christopher Yeager

                                               Christopher A. Yeager
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                                Appendix A

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